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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
Honorable Robert B. Kugler

v. : Criminal No. 19-191 (RBK)
THOMAS SHER : VERDICT SHEET
Defendant
COUNT ONE

With a to Count One, which charges Defendant Thomas Sher with
conspiring and agreeing with one or more other persons to commit health care
fraud and wire fraud from in or about July 2014 through in or about April 2016,
in violation of Title 18, United States Code, Section 1349, we, the unanimous fury,
find:
Defendant Thomas Sher:
NOT GUILTY '§-s GUILTY ve
If your verdict is not guilty, proceed to the next count.
If your verdict is guilty, please answer the following.
We, the unanimous jury find that the Defendant Thomas Sher conspired to
commit the following:
Wire fraud:
NOT PROVEN“ PROVEN
Health care fraud:
NOT PROVEN_—'§$-: PROVEN aS

Proceed to the next count
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COUNT EIGHTEEN

With respect to Count Eighteen, which charges Defendant Thomas Sher with
health care fraud by knowingly and willfully executing a scheme to defraud a
health care benefit program and obtain, by means of false and fraudulent
pretenses, representations, and promises, money and property owned by, or under
the custody and control of, a health care benefit program in connection with the
delivery of and payment for health care benefits, items, and services, in violation of
Title 18, United States Code, Section 1347, and Title 18, United States Code,
Section 2, by causing prescriptions for Nicholas Grasso and Samantha Grasso to
be completed and faxed to Central Rexall Drugs in May 2015, the unanimous jury,
find:

Defendant Thomas Sher:

NOT GUILTY GUILTY

Proceed to the next count
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COUNT NINETEEN
With respect to Count Nineteen, which charges Defendant Thomas Sher with
health care fraud by knowingly and willfully executing a scheme to defraud a
health care benefit program and obtain, by means of false and fraudulent
pretenses, representations, and promises, money and property owned by, or under
the custody and control of, a health care benefit program in connection with the

delivery of and payment for health care benefits, items, and services, in violation of

 

Title 18, United States Code, Section 1347, and Title 18, United States Code,
Section 2, by causing prescriptions for Christopher Bradley and Jill Bradley to be
completed and faxed to Central Rexall Drugs in December 2015, the unanimous
jury, find:

Defendant Thomas Sher:

NOT GUILTY GUILTY

 

Proceed to the next count

 
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COUNT TWENTY

With respect to Count Twenty, which charges Defendant Thomas Sher with health
care fraud by knowingly and willfully executing a scheme to defraud a health care
benefit program and obtain, by means of false and fraudulent pretenses,
representations, and promises, money and property owned by, or under the
custody and control of, a health care benefit program in connection with the
delivery of and payment for health care benefits, items, and services, in violation of
Title 18, United States Code, Section 1347, and Title 18, United States Code,
Section 2, by causing prescriptions for Caroline Bradley to be completed and faxed
to Central Rexall Drugs in December 2015, the unanimous jury, find:

Defendant Thomas Sher:

NOT GUILTY GUILTY /

Proceed to the next count
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COUNT TWENTY-ONE

With respect to Count Twenty-One, which charges Defendant Thomas Sher with
health care fraud by knowingly and willfully executing a scheme to defraud a
health care benefit program and obtain, by means of false and fraudulent
pretenses, representations, and promises, money and property owned by, or under
the custody and control of, a health care benefit program in connection with the
delivery of and payment for health care benefits, items, and services, in violation of
Title 18, United States Code, Section 1347, and Title 18, United States Code,
section 2, by causing a prescription for libido cream for Thomas Sher to be
completed and faxed to Central Rexall Drugs in October 2015, the unanimous
jury, find:

Defendant Thomas Sher:

NOT GUILTY GUILTY /

DATE: WY

dPOKESPRRSON

 

 
